
98 N.Y.2d 659 (2002)
MATTHEW BETTERS, on Behalf of Himself and All Other Taxpayers of County of Genesee Similarly Situated and as a Genesee County Legislator, et al., Appellants,
v.
ROBERT KNABEL, as City Manager of City of Batavia, et al., Respondents.
Court of Appeals of the State of New York.
Submitted March 25, 2002.
Decided June 4, 2002.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed the denial of appellants' motions for a preliminary injunction and to amend the complaint, dismissed upon the ground that such portion of the Appellate Division order does not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
